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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )                    8:03CR36
                                           )
              v.                           )
                                           )
GYPSY F. RODRIGUEZ,                        )           MEMORANDUM OPINION
                                           )
                     Defendant.            )
                                           )


       This memorandum supplements the findings made on the record at the defendant’s

sentencing hearing on May 9, 2005. Filing No. 268.

       I. BACKGROUND

       The defendant was indicted and charged in a superseding indictment with

conspiracy to distribute and possess with intent to distribute 500 grams or more of a

mixture or substance containing a detectable amount of methamphetamine (Count I), and

with distribution and possession with intent to distribute more than 50 but less than 500

grams or more of a mixture or substance containing a detectable amount of

methamphetamine (Count III). Filing No. 59.

       The charges against Ms. Rodriguez and several co-defendants were tried to a jury

on March 8 through March 11, 2004. The jury returned a verdict of guilty on both counts

of the superseding indictment with respect to Ms. Rodriguez.          Filing No. 171.    A

presentence investigation report was prepared and the case proceeded to sentencing.

Meanwhile, the United States Supreme Court decided Blakely v. Washington, 542 U.S. —,

124 S. Ct. 2531 (June 24, 2004) (holding that increasing a defendant’s sentence in reliance

on a fact that had not been found by a jury violates the Sixth Amendment). The defendant

objected to the presentence investigation report under Blakely. Filing No. 200. In light of
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the Blakely decision, parties made a joint oral motion for a new trial. See Filing Nos. 217

& 228. The trial court granted the motion. Filing No. 217.

        Pursuant to a plea agreement, the defendant then filed a petition to enter a plea of

guilty to Count III of the superseding indictment on January 31, 2005. Filing No. 238,

Petition, Filing No. 239, Plea Agreement.                 The statutory range of imprisonment for

distribution of more that 50 grams, but less than 500 grams of methamphetamine is five-to-

twenty years. 18 U.S.C. § 841(a)(1) and (b)(1). In her petition, Ms. Rodriguez stated as

the factual basis for her plea, “[o]n 12-5-02 I had constructive possession of

methamphetamine found in my house which had it not been found I would have helped my

husband distribute, on 12-5-02 there was money found in my home which was the

proceeds of drug sales in which I participated.” Id. at 14. In the plea agreement, the

parties agreed and stipulated, pursuant to Fed. R. Crim. P. 11(c)(1)(C), to the following:

the defendant’s criminal history category was II; her Base Offense Level should be

decreased by three levels, or her sentencing range reduced between 30 and 47 months

for her acceptance of responsibility; her offense level should be neither increased nor

decreased for her role in the offense; and “defendant should receive no other upward or

downward adjustments to her offense level and/or sentence, except defendant is free to

present evidence and argument that her sentence should be as low as 60 months

imprisonment.”1 Filing No. 239 at 2. The guideline sentencing range for a base offense

level of 27 at criminal history category II would result in a sentence of 78 to 97 months.




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         This last clause was added by handwritten interlineation, and a sentence stating “Defendant will file
no other motions requesting the Court to depart downward from the sentencing guidelines, or to otherwise
reduce her sentence” was crossed out. See Filing No. 239 at 2.

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       A third revised presentence investigation report (“PSR”) was prepared by the United

States Probation Office (“Probation”) and distributed to the parties. In the PSR, Probation

determined that Ms. Rodriguez should be held responsible for 638.92 grams of

methamphetamine. Her offense level was accordingly set at 32. After deduction of three

points for acceptance of responsibility, her total offense level was determined to be 29.

Probation determined that Ms. Rodriguez’s Criminal Offense Level should be II, with one

point assessed for shoplifting four packs of cigarettes in 1999 and two points assessed for

committing the instant offense while under a criminal justice sentence, including probation,

under U.S.S.G. § 4A1.1(d). Probation calculated Ms. Rodriguez’s guideline sentencing

range to be 97 to 121 months.

       At the sentencing hearing, the parties stipulated that if a representative of Child

Protective Serves were called to testify, he or she would testify that in Nebraska, if both

parents are in custody and neither will be released within 22 months, Child Protective

Services will recommend termination of parental rights. Ms. Rodriguez has already been

incarcerated for 19 months on this charge.

       II. DISCUSSION

       The defendant objected to the presentence investigation report. Filing No. 261.

The defendant objects to the determination in the plea agreement that she was responsible

for 142 grams of methamphetamine found in the Hidalgo vehicle. She also objects to the

determination that she is responsible for 4 grams of methamphetamine and 5 pounds of

marijuana; for an additional 6½ ounces of methamphetamine; or for currency found in the

Fernandez-Hidalgo vehicle. The defendant contends that she is only responsible for the

337 grams of methamphetamine found in the thermos in the closet of the South 21st Street


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residence. At the sentencing hearing, defendant asked that the court impose a sentence

of 60 months, the mandatory minimum. The court will construe defendant’s contentions

in this regard as a motion for downward departure. The Sixth Amendment is violated if a

sentencing judge imposes a sentence under the United States Sentencing Guidelines

(“Guidelines”) based on the determination of a fact (other than a prior conviction) that was

not found by the jury or admitted by the defendant. United States v. Booker, 125 S. Ct.

2531, ___ (2005) (Stevens, J., opinion of the Court) (“substantive majority opinion”) (finding

that Blakely v. Washington, 542 U.S. —, 124 S. Ct. 2531 (June 24, 2004), and Apprendi

v. New Jersey, 530 U.S. 466, 477 (2000), apply to the United States Sentencing

Guidelines). Under Booker, the Guidelines are advisory and sentences are subject to

appellate review for “reasonableness.” Id. at 757, 765-66 (Breyer, J., opinion of the Court)

(“remedial majority opinion”). Guideline ranges are one of many factors for the sentencing

court to consider. See id. at 767; 18 U.S.C. § 3553(a). Accordingly, this court is not bound

by the Guidelines but must consult them and take them into account when sentencing. Id.

at 767, 790 (Scalia, J., dissenting) (noting that “district courts have discretion to sentence

anywhere within the ranges authorized by statute—much as they were generally able to

do before the Guidelines came into being.”).

       The district court is charged under the Sentencing Reform Act with the duty to

“impose a sentence sufficient, but not greater than necessary,” to comply with sentencing

purposes and to “consider the nature and circumstances of the offense and the history and

characteristics of the defendant” in so doing. See 18 U.S.C. § 3553(a)(1). The court must

further consider “the need for the sentence imposed—(A) to reflect the seriousness of the

offense, to promote respect for the law, and to provide just punishment for the offense; (B)


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to afford adequate deterrence to criminal conduct; (C) to protect the public from further

crimes of the defendant; and (D) to provide the defendant with needed educational or

vocational training, medical care, or other correctional treatment in the most effective

manner.” 18 U.S.C. § 3553(a)(2). In addition, the court must consider, as advisory, the

kinds of sentence available and the applicable category of offenses and category of

defendant as set forth in the Guidelines, and its policy statements, as well as the need to

avoid unwarranted sentencing disparities among defendants who have been found guilty

of similar conduct. 18 U.S.C. § 3553(a)(3)-(6).

       In imposing a sentence post-Booker, the sentencing court must first determine the

appropriate Guidelines sentencing range, since that range remains an important factor to

be considered in the imposition of a sentence. United States v. Mashek, –- F.3d —, —,

2005 WL 1083465 at *3 (8th Cir. May 10, 2005); United States v. Haack, 403 F.3d 997,

1002 (8th Cir. 2005). Once the applicable range is determined, the court should then

decide if a traditional departure is appropriate under Part K and/or § 4A1.3 of the

Guidelines. Id. at 1002. Those considerations will result in a "Guidelines sentence." Id.

The court then considers all other factors set forth in § 3553(a) to determine whether to

impose the Guidelines sentence or a non-Guidelines sentence. Id. Nothing in Booker

requires the court to determine the appropriate Guidelines sentencing range in any manner

other than the way the sentence would have been determined pre-Booker. Id. However,

“[b]ecause the guidelines are now advisory, a reasonable departure is not limited solely to

circumstances that the formerly mandatory guidelines framework would have deemed

permissible bases for departure.” United States v. Hadash, No. 03-2180, slip op. at 5 (8th




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Cir. May 27, 2005) (stating that Booker excised the narrow prescription for when

departures are warranted).

        With those standards in mind, the court finds that defendant’s objections to the

PSR should be sustained. The court finds that attribution of any amounts over 500 grams

of methamphetamine is beyond the contemplation of the plea agreement. Defendant was

indicted for, and admitted to, distribution of between 50 and 500 grams of

methamphetamine. The parties agreed to a Base Offense Level of 30 (which amounts to

a quantity of 350 to 500 grams of methamphetamine under the Guidelines). The court’s

inclusion of any quantity of methamphetamine over 500 grams of methamphetamine in

fashioning a sentence would amount to determination of a fact that was neither “found by

the jury or admitted by the defendant.” Accordingly, the court finds that defendant’s initial

Guideline computation under the plea agreement should be based on a total offense level

of 30 at criminal history category II, resulting in a sentencing range of 78 to 97 months.

The court further finds that although the parties felt otherwise at the sentencing hearing a

departure or other adjustment to a sentence of sixty months is expessly within the

contemplation of the parties as set forth in the plea agreement.

       The defendant’s motion for downward departure is based on numerous factors;

including the prospect that she will lose parental rights to at least one of her children unless

a departure is granted. She also argues that the court should consider that she is the

uneducated mother of five; that she was living in a home populated by drug dealers and

was “sucked into the vortex” of that life. The evidence adduced at the trial of her co-

defendants showed that Ms. Rodriguez was not a major participant in the scheme;

although she knew or should have known that drugs were being sold in her home,


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evidence that she knew the extent of the conspiracy is lacking.2 In consideration of the

factors set out in 28 U.S.C. § 3553(a), the court finds that the motion for downward

departure to a sentence of sixty months should be granted.

        Alternatively, on review of the record, the court finds that a departure for

overrepresentation of criminal history category would also be warranted in this case. The

court can depart downward under this section on its own motion. See United States v.

Senior, 935 F.2d 149, 150-51 (8th Cir. 1991) (affirming downward departure raised by court

on its own motion).         The court can consider, for example, the historical facts of a

defendant’s criminal career, including his age when he committed the offenses, the

proximity in time of the convictions, and “the state's assessment of the seriousness of

[defendant’s] crimes as reflected by the state courts' handling of sentencing.” Id. at 151.

In departing, the court should apply the Guideline range that would have applied absent

the overstatement of his criminal history. Id.

        The PSR includes the assessment of two points pursuant to U.S.S.G. § 4A1.1(d)

for committing the instant crime while under a criminal justice sentence for another crime.

Ms. Rodriguez was sentenced to six months’ probation on July 14, 2000, for shoplifting four

packs of cigarettes in May 1999. The indictment alleges that the conspiracy at issue herein

began in June 2001, and that is the date on which Probation relied in calculating the points

it assessed under U.S.S.G. § 4A1.1(d). However, Ms. Rodriguez entered a plea to

distributing or possessing with intent to distribute methamphetamine on December 5, 2002.

In addition, the PSR contains an inconsistency: in ¶ 82, the date of imposition of the



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         Significantly, the trial judge expressly found the testimony of co-conspirator Fernandez-Hidalgo was
not credible with respect to Ms. Rodriguez’s involvement in the conspiracy. See Filing No. 228, Transcript of
Proceedings at 11.

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sentence is listed as July 14, 2000; while in ¶ 86, the date is set forth as July 14, 2001. It

appears that defendant violated probation on June 12, 2001. Based on this record, the

court is unable to determine whether Ms. Rodriguez was indeed still serving a criminal

justice sentence within two years of December 5, 2002. Accordingly, the court will not rely

on the statements in the PSR to establish Ms. Rodriguez’s criminal history category. In any

event, regardless of the reliability of the statements in the PSR, the court would find that

a criminal history category of II overrepresents the criminal history of a person whose only

prior law enforcement contacts were for minor traffic infractions and the theft of four packs

of cigarettes. Absent the additional points assessed for recency of Ms. Rodriguez’s

criminal conduct, she would have been assessed one criminal history point and would be

in criminal history category I. Her Guideline range in that case would be seventy to eighty-

seven months. The court would find, however, that a departure to sixty months would be

warranted, in light of the seriousness, or lack of seriousness, of her prior conviction.

       The court will next determine whether the sentence is reasonable under Booker’s

remedial scheme, mindful that “[i]n fulfilling its duty to impose a sentence sufficient, but not

greater than necessary, to comply with sentencing purposes,” the court must consider “the

nature and circumstances of the offense and the history and characteristics of the

defendant.” See 18 U.S.C. § 3553(a)(1); see also Booker, 125 S. Ct. at 766-67 (remedial

majority opinion). The court has considered the need for the sentence imposed: (A) to

reflect the seriousness of the offense, to promote respect for the law, and to provide just

punishment for the offense; (B) to afford adequate deterrence to criminal conduct; (C) to

protect the public from further crimes of the defendant; and (D) to provide the defendant

with needed educational or vocational training, medical care, or other correctional


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treatment in the most effective manner. See 18 U.S.C. § 3553(a)(2). In addition, the court

has considered, as advisory, the kinds of sentence available and the applicable category

of offenses and category of defendant as set forth in the United States Sentencing

Guidelines, and any policy statements promulgated thereto. 18 U.S.C. § 3553(a)(2). Also,

the court has considered the need to avoid unwarranted sentencing disparities among

defendants who have been found guilty of similar conduct and the need to provide

restitution to any victims of the offense. See 18 U.S.C. § 3553(a)(6) & (7). As noted

above, the court has consulted the Guidelines and has determined that defendant’s

Guidelines sentence, after departures, would be sixty months.

       In considering the nature of the offense and the history and characteristics of the

defendant, the court finds that although the crime was indeed serious, defendant’s role was

not significant and she was placed in a situation where it would have been difficult, if not

impossible, for her to have defied her husband and stepson who were heavily involved in

the drug conspiracy. Although she reaped some of the monetary benefits of the drug

trade, she did so in order to support her family and to pay bills. Ms. Rodriguez has

admitted that she is an addict and has made attempts at treatment. In consideration of the

need to avoid unwanted disparity, the court notes that had Ms. Rodriguez been charged

in state court with a similar offense, she would most likely not be faced with the specter of

losing custody of her children by reason of a lengthy incarceration.

       With respect to the need to provide just punishment, afford deterrence and promote

respect for the law, the court finds a sentence of sixty months is adequate to promote

those objectives. Because Ms. Rodriguez’s role in the operation was tangential, and

because the major participants of the drug ring have been incarcerated for lengthy


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sentences, that court also finds a sentence of sixty months is adequate to protect the

public from further crimes of the defendant. This sentence will also provide the defendant

with drug-rehabilitation treatment. The provision of the maximum term of supervised

release is adequate to monitor Ms. Rodriguez’s sobriety and the care of any children in her

custody. A Statement of Reasons and Judgment and Conviction in conformity with this

Memorandum Opinion will issue this date.

       DATED this 3rd day of June, 2005.

                                          BY THE COURT:



                                          s/ Joseph F. Bataillon
                                          JOSEPH F. BATAILLON
                                          United States District Judge




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